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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE
___________________________________________
THEODORE ALFRED ARCIDI,
                                     Plaintiff


                        v.

UNITED STATES OF AMERICA
C/O Office of the Attorney General
950 Pennsylvania Avenue, NW                      :
Washington, DC 20530-0001
                                                 :
            and                                  :
                                                              Docket No.: 1:22-CV-00053-SE
FEDERAL BUREAU OF INVESTIGATION                  :
J. Edgar Hoover Building                         :
935 Pennsylvania Avenue, N.W.
                                                 :
Washington, D.C. 20535
                                                 :
           and

MERRICK GARLAND, in his official
Capacity as Attorney General
Office of the Attorney General
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001,

Defendants
_____________________________________________

                    ASSENTED-TO MOTION FOR STAY

      Plaintiff, Theodore A. Arcidi, by undersigned counsel, respectfully moves the
court to stay the proceedings in this case for 120 days while plaintiff and defendants
cooperate in attempting to clarify issues remaining to be resolved in state court in
Massachusetts.
   1. As grounds for this motion, counsel for plaintiff and defendants have
concluded that the Waltham District Court could rule on disputed issues which
could potentially resolve the matter pending in this Court.



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   2. Counsel for defendant has assented to this motion, no party will be
prejudiced by granting it, and judicial economy will be served by staying the
case for four months.
   3. Because this motion is procedural in nature, no supporting memorandum is
required.
   4. Granting this motion will not result in the continuance of any trial, hearing,
or conference
      WHEREFORE, plaintiff requests that this Court stay the matter for 120 days
to allow plaintiff to obtain a ruling from state court in Massachusetts.


                                               Respectfully submitted,
                                               Theodore Alfred Arcidi
                                               By his Attorneys,
Dated: June 7, 2022                            Olson & Olson, P.A.

                                               /s/ Kurt S. Olson
                                               Kurt S. Olson, NH Bar ID #:12518
                                               Olson & Olson, P.A.
                                               31 Franklin Rd.
                                               Salisbury, NH 03268
                                               603-748-1960
                                               kolson@mslaw.edu




                            CERTIFICATE OF SERVICE

      I, Kurt S. Olson, hereby certify that this document, filed through the ECF
system, will be sent electronically to the registered participants as identified on the
Notice of Electronic Filing (NEF).

                                               /s/ Kurt S. Olson
                                               Kurt S. Olson




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